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STEPHEN M. SHAW 4336
P.O. Box 2353
Honolulu, Hawaii 96804
Telephone: (808) 521-0800
Email: shawy001@gmail.com

Attorney for Plaintiff
NORMAN P. JOHNSON, PhD.

                 IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

NORMAN P. JOHNSON, PhD.,     )              CIVIL NO. 20-378
                             )
                 Plaintiff,  )
       vs.                   )              COMPLAINT;
                             )              DEMAND FOR JURY TRIAL;
ASSOCIATION OF APARTMENT )
OWNERS OF WAVECREST          )
(Entity Form Unknown), and   )
DOES 1-30,                   )
                             )
                 Defendants. )

                                 COMPLAINT

                     FIRST CAUSE OF ACTION -
                FOR VIOLATION OF HRS CHAPTER 480
           (HAWAII UNFAIR AND DECEPTIVE PRACTICES ACT)

      Plaintiff NORMAN P. JOHNSON, PhD. (“Dr. JOHNSON” or “Plaintiff”)

through undersigned counsel, hereby states for his Complaint as follows:

      1.     Dr. JOHNSON is, and was at times relevant to this Complaint, a

citizen of the State of Washington. Defendant ASSOCIATION OF APARTMENT

OWNERS OF WAVECREST is a citizen of the State of Hawaii.


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      2.     The amount in controversy, without interest and costs, exceeds the

sum of $75,000 or value specified by 28 USC §1332(a). The parties are citizens of

different states. 28 USC §1332(a)(1).

      3.     Plaintiff is a homeowner in a condominium project in the County of

Maui (Island of Molokai), State of Hawaii. He bought a residential unit with his

wife (not a party hereto) at the Property on January 4, 2018.

      4.     ASSOCIATION OF APARTMENT OWNERS OF WAVECREST

(“AOAO”) is and was at all times relevant to this Complaint an entity, form

unknown, with its offices and principal place of business located at 7148

Kamehameha V Hwy, Kaunakakai, Hawaii 96748 (herein “Property” or

“WAVECREST”) on the island of Molokai, in the County of Maui. Defendant’s

duties to Plaintiff relating to said condominium project include compliance with

state and federal laws, holding special meetings (particularly in emergencies), rule-

making, disclosure of records, compliance with the governing documents, fair and

honest application of rules and procedures relating to fines, owner-based

management and operation of certain land and improvements at the property,

negotiating and litigating with insurance companies who refuse to settle claims

against the AOAO, and oversight or removal of unfit officers, agents, debt

collectors, and/or employees.




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      5.     Defendant AOAO’s acts and omissions at issue were, and are, being

done by its president and other officers; as well as by its managers, directors,

agents, employees, board/AOAO attorneys and debt collectors (collectively

referred to herein as “AOAO” “WAVECREST” or “AOAO Defendants”).

      6.     Defendant DOES 1-30 (collectively referred to as “DOES”) are, on

information and belief, persons, trustees, trusts (either revocable or irrevocable),

corporations (both for profit and nonprofit), partnerships, limited partnerships,

LLCs, joint ventures, participants, aiders and abettors, and/or other entities, the

identity of which Plaintiff has not been able to ascertain at this time despite good-

faith inquiry. On information and belief said DOES have an interest in this action

in that they are responsible, either severally or jointly for the damages sustained by

Plaintiff from the wrongful conduct and/or omissions by Defendant AOAO as

alleged in this lawsuit; by being agents of the AOAO and/or by being involved

because of negligence, gross negligence, recklessness, willful or intentional

misconduct, or other in improper action, in legally causing damages or injury to

Plaintiff. All defendants have been named in this Complaint about which Plaintiff

has knowledge based on investigating the claims against Defendant AOAO up to

this time, and based on good faith search of available records and other sources of

information. Plaintiff may seek leave, after reasonable opportunity for further

investigation and/or discovery as further wrongdoers are identified in this action, to



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name additional defendants to be certified by the Court as DOE Defendants

pursuant to the rules of civil procedure.

      7.     Certain corporate or other entities must be disregarded, according to

proof, to avoid fraud. Defendants provisionally designated as DOES having an

interest in this lawsuit were, on information and belief, alter egos of corporate or

entity defendants which were undercapitalized. There is a unity of interest between

the individuals and the entities. Letting them act as any entity’s alter egos would

sanction fraud or promote injustice with respect to the conduct alleged in this

lawsuit.

      8.     At all times relevant herein, the AOAO’s employees, agents, debt

collectors, servants, officers, directors, board/AOAO counsel, and other

representatives of Defendants were acting within the course and scope of their

employment, agency, and service with their principals or employers; and,

therefore, the Defendants are liable to Plaintiff for the tortious conduct of the

above-mentioned employees, agents, servants, and representatives as set forth

herein, under the doctrines of vicarious liability, respondeat superior and/or

agency principles.

      9.     In the event of discovery by Plaintiff, or if one or more defendants

contend or assert, that any act or omission by a director, employee, agent,

board/AOAO counsel, servant or representative, was outside the course and scope



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of his/her agency, employment, and/or service with any principal, client, or

employer, then Plaintiff will seek leave to identify as a defendant any DOE

Defendant liable for negligent supervision, training, retention, or hiring. Also, any

DOE guilty of exceeding the aforesaid course and scope of his/her directorship,

agency, employment and/or service may also be named and joined as a Defendant

herein by amendment.

      10.    Plaintiff gives notice to Defendants of a litigation hold barring the

AOAO, its record custodians, managing agent, debt collectors, employees, agents,

officers or directors, and DOES 1-30 from destroying, losing, overriding, purging,

or otherwise spoliating any information relating to this lawsuit or the facts stated

herein, without written consent of Plaintiff or his attorney.

                             COUNT ONE
                 (DECEPTIVE HOUSE RULES PRACTICES)

      11.    Plaintiff restates and realleges paragraphs 1-10 by this reference and

incorporates them therein.

      12.    Plaintiff is a consumer as defined by HRS §480-1 who, primarily for

personal, family or household purposes, purchased a condominium and, at the

same time, committed money for this personal investment. At all times, Plaintiff

intended that his condominium at WAVECREST would be a personal investment,

being a fee-simple residential unit, appreciating in value.




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      13.    In addition to the purchase price for his residence paid on January 4,

2018, Plaintiff also committed money (included in his maintenance fees) for

fiduciary, owner-based management, and operation of the Property. These sums

were only for fair, honest management, and operation of the Property, including

disclosure of records, dispute resolution, and fair, honest application of House

Rules and fine/penalty procedures. To that end, Plaintiff reposed confidence in

Defendant AOAO and its managing agent. As a result he entrusted part of his

monthly payments for maintenance fees to be applied by Defendant for owner-

based management by the AOAO, a fiduciary, in amounts which will be

established according to proof. All misused portions of his monthly maintenance

fees are fairly traceable as damages to Plaintiff as economic losses legally caused

by Defendants, each month.

      14.    Defendants engaged in acts or practices that were unfair and/or

deceptive as hereinbelow described, all to the damage fairly traceable to

Defendants’ conduct, which was in willful disregard of the rights of an elder.

Damages included diminished value, stigma, or blight damages for each count of

this and other Causes of Action. Defendants knew or should have known that their

unfair and/or deceptive acts or practices were directed toward, and targeted an

elder. Dr. Johnson is 76 years old. He was alone on a remote island, far away from

his family in Washington. Defendant AOAO knew that Plaintiff was more



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vulnerable during the pandemic, and otherwise, to Defendants’ misconduct than

other consumers. Furthermore, the extent of injury to Plaintiff, was legally caused

by Defendants and was substantial.

         15.   The unfair and/or deceptive acts or practices by Defendant occurred in

the conduct of trade or commerce as provided by HRS §480-2. Defendants’

services to Plaintiff were (and are) as operators, managers, fiduciaries and

contractors with respect to the Project, and were performed in the context of

business activities or business transactions.

         16.   Plaintiff has no choice over whether or not to pay for Defendants’

services by adhesive, and forced maintenance fees; even when, as here, the

Defendants’ “services” are performed deceptively, negligently, maliciously and/or

unfairly. Said fees may not be abated in the event of a dispute, without a Court

order.

         17.   The wrongful acts or practices engaged in by Defendants, alleged

herein, were deceptive in that they are material misrepresentations, omissions, or

practices that are likely to mislead or deceive consumers acting reasonably under

the circumstances, including Plaintiff. Moreover, the misrepresentations,

omissions, or practices herein alleged were “material” in that the same deceptively

and/or unfairly violate the requirement of fair, orderly, and non-deceptive

management and operation of the Property. Materiality is also found by the



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AOAO’s deceptive and/or unfair refusal to promptly mediate and/or withholding

of information. These services were also important to Plaintiff and other

consumers. The deceptive acts and/or practices enumerated in this lawsuit are

further material in that they are likely to affect consumers (and Plaintiff’s) choice

or conduct regarding their personal investment. This includes purchasing

condominiums and paying maintenance fees for management at WAVECREST

residential condominiums for a competent staff, full, fiduciary

management/operation, full disclosure of information and records, prompt

mediation, as well as honest, trustworthy managing agents, association officers and

directors, attorneys, employees, contractors and insurers.

      18.    Defendants were provided binding standards by the managing agent,

Hawaiiana Management Co. Ltd (“HMC”), which include the Director’s

Handbook. This document confined Defendants to a single, expressed set of rules,

stating that “(h)ouse Rules… define the rules of conduct for all residents of the

project.”

      19.    In contrast to the statutory voting requirements to amend the

Declaration and Bylaws, Defendant AOAO’s board was, at all times relevant here,

authorized to amend the House Rules by adhering to the AOAO’s Bylaw §4:

              “Section 4. House Rules. The Board of Directors, upon giving notice
      to all unit owners in the same manner as herein provided for notice of
      meetings of the Association and opportunity to be heard thereon, may adopt,
      amend or repeal any supplemental rules and regulations governing details of

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      the operation and use of the common elements not inconsistent with any
      provisions of law, the Declaration or these By-Laws.” Emphasis added.


      20.    Defendant AOAO’s Bylaws provide for emergency rule changes,

affording an expedited mechanism for special, telephonic meetings. Bylaw Art II

§8 and §8a. A special meeting by the board of directors can be held on eight hours’

notice. This notice may be given by telephone. Art II §8.

      21.    On March 16, 2020, Hawaii’s Governor Dvaid Y. Ige issued a

Supplementary Emergency Proclamation for Covid-19, suspending “Chapter 286,

HRS highway safety”. This suspension was in force until May 15, 2020. The effect

was to suspend the need for safety checks (required by HRS §286-26) during the

pandemic, as well as to suspend the requirement to register motor vehicles under

HRS §286-41 and §286-71.

      22.    Defendant AOAO’s House Rules (revised 12-4-15) represented to

consumers:

             “4. All outside workers must sign in and out at the Wavecrest Office
      daily.”

      23.    The AOAO’s House Rules (revised 12-4-15) represented to

consumers:

           “6. Parked vehicles must be in good running order and be in
      compliance with state registration requirements.”




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       24.    The AOAO’s House Rules (revised 12-4-15) represented vaguely

 and/or ambiguously to consumers:

              “Behavioral        violations require immediate correction or may
       result in immediate fine.”

       25.    At all times, the AOAO was the drafter or provider of the words

 contained in the foregoing House Rules together with other governing documents.

 Therefore, all ambiguities in these adhesive documents are construed against the

 AOAO.

       26.    Despite Plaintiff’s written requests for information on 5/20/20 and

 5/22/20, Defendant AOAO and its managing agent (HMC) have yet to provide any

 proof that the aforesaid House Rules were enacted on notice, as required by

 Defendant AOAO’s Bylaw §4. As a result, the Court should determine that

 Defendant’s House Rules were never enacted in compliance with the AOAO’s

 Bylaws.

       27.    The practices and acts by Defendants as alleged in this lawsuit are

 deceptive and/or unfair. In several known instances, Defendant AOAO conducted

 its management and operation of the Property in 2019-20 by systematically fining

 owners, including Plaintiff, in a retaliatory, discriminatory, unfair and/or deceptive

 fashion, and by blocking contractors or workers:

              (A)    by false accusations of House Rules violations;



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               (B)    by lack of prior warning or progressive sanctions;

               (C)    by refusal to provide written notice and an opportunity to be

       heard to consumers before adding fines to the owners’ monthly maintenance

       fees, which consumers are forced to pay on penalty of liens and/or

       foreclosure;

               (D)    by refusal to amend or suspend House rules, particularly in

       emergencies; or when rules are unintelligible, vague, and/or ambiguous;

               (E)    by retaliating and discriminating against Plaintiff after he

       voiced concerns at a March 19, 2020 meeting regarding management

       problems involving the board president.

               (F)    by fraudulent and retaliatory refusal to permit cleaning service

       access to Plaintiff’s unit and harassing his island representative with a

       trespass warning and falsely accusing him of trespass. The worker was

       barred from the Property, as pure retaliation against Plaintiff.

       28.     Defendants legally caused private injury in the form of economic loss

 and damages to Plaintiff by the following discriminatory, retaliatory, unfair and/or

 deceptive acts or practices relating to its House Rules and monetary fines

 misconduct.

               A.     April 15, 2020. As a separate violation of HRS §480-2,

 Defendant AOAO levied an “Immediate $100 fine” on Plaintiff after his friend


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 tried to pick up a grocery shopping list from Plaintiff, an elder, who was sheltered

 in place due to the pandemic. Defendant AOAO refused to permit access to

 Plaintiff’s unit. There was no “outside worker” involved. The retaliatory, false,

 unfair and/or deceptive notice of violation listed the “offenses” as follows:

       “Registration and Occupancy: 4. All outside workers must sign in and out
       at the Wavecrest Office daily. Parking Lot 6. Parked vehicles must be in
       good running order and be in compliance with state registration
       requirements.

       Your “support person” will need to stop by the office during normal
       business hours to pick up a Parking Pass and register her vehicle before re-
       entering property.”

              B.    May 12, 2020. As a separate violation of HRS §480-2,

 Defendant AOAO levied a fine on Plaintiff for “250 per incident (within a 12

 month period)”. Plaintiff’s friend was allegedly seen on the property. There was no

 outside worker involved. The Governor’s suspension of auto registration

 requirements was in force until May 15, 2020. See ¶21, supra. The retaliatory,

 false, unfair and/or deceptive notice of violation listed the “subsequent violations”

 as:

              “Your unit is in violation of the following Wavecrest House Rules:
              Registration and Occupancy: 4. All outside workers must sign in
       and out at the Wavecrest Office daily. Parking Lot 6. Parked vehicles must
       be in good running order and be in compliance with state registration
       requirements. Over the past weekend your “support worker” was seen on
       property, car parked in front of A-Building. Vehicle registration tag expired
       April 2020.




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             She failed to stop in at the office to sign in and register her vehicle as
       required.”

              C.     May 18, 2020. As a separate violation of HRS §480-2,

 Defendant AOAO levied a fine this day on Plaintiff for “250 per incident (within a

 12 month period)” after his friend attempted to pick up Plaintiff’s perishable

 groceries as Dr. Johnson was leaving for the mainland the next day. Again, access

 was denied. As before, there were no “outside workers” or unpermitted vehicles

 involved. The retaliatory, false, unfair and/or deceptive notice of violation listed

 the “subsequent violations” as:

            “Your unit is once again in violation of the following Wavecrest
       House Rule:
       Registration and Occupancy: 4. All outside workers must sign in and out
       at the Wavecrest Office daily. On Sunday, May 17th, your “support worker”
       was observed running upstairs in A-bldg. as well as getting out of your Jeep
       @2:30pm right into the unpermitted vehicle that sat on the premises from
       9:30am.”

              D.     May 19, 2020. As a separate violation of HRS §480-2,

 Defendant AOAO levied a fine on Plaintiff for “250 per incident (within a 12

 month period)”. These were imposed twice ($250 x 2) in this single notice of

 alleged “House Rules Violation”. The fines, as two separate HRS §480-2

 violations, were imposed after the attempted grocery retrieval in ¶C, above, and to

 care for Plaintiff, an elder, on a residential hygiene matter. The friend was accosted




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 by Defendant’s board president. Said retaliatory, false, unfair and deceptive notice

 stated:

            “Your unit is once again in violation of the following Wavecrest
       House Rule:
       Registration and Occupancy: 4. All outside workers must sign in and out
       at the Wavecrest Office daily. At 6:06 & 6:08 pm on 5/18/20 two vehicles
       belonging to your “support worker” were trespassing on property. Both
       vehicles are unpermitted, and both occupants of the vehicles failed to sign
       in.”

       29.    As a separate violation of Ch. 480-2, Defendant AOAO refused to

 permit a contractor to clean Plaintiff’s unit and falsely accused the worker of

 trespass – even contacting the police. See Count Nine, infra.

       30.    All of the activities above were permitted or essential activities

 “outside the Home or Place of Residence” particularly since the travel was to care

 for an elderly, high risk person and to obtain groceries.

       31.    For each separate violation of HRS §480-2 in this lawsuit, the

 minimal damages legally caused by Defendants is the greater of $5,000, or

 “threefold any damages sustained”. Plaintiff will also seek attorney’s fees and

 costs pursuant to HRS §480-13(b) fairly traceable to Defendants’ misconduct. By

 example, the minimum economic loss damages for the five (5) violations in ¶28,

 above is $25,000.

       32.    Plaintiff will likely incur further actual/special, Uyemura v. Wick, 57

 Haw. 102 damages in the form of attorney’s fees, interest and other expenditures,


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 according to proof. These third-party fees have already been incurred in trying to

 mediate with the AOAO’s managing agent, and obtain records relating to the fines

 and rules from the AOAO’s (nonparty) managing agent, Hawaiiana Management

 Co. Ltd. Therefore, Plaintiff has, as a further legal, direct and proximate result of

 Hawaiiana’s violations of HRS §514B-154.5, HRS §514B-161(a), HRS §480-2,

 and the AOAO’s unfair and/or deceptive practices or acts, sustained special and

 general damages by overpaying maintenance fees and other charges, according to

 proof, which are further traceable to the misconduct of HMC, as alleged in this

 lawsuit.

       33.    Unfairly and/or deceptively Defendants legally caused economic

 losses, including diminished value of Plaintiff’s investment fairly traceable to

 unfair and/or deceptive practices by Defendants. For this, and other misconduct as

 alleged in this lawsuit, $5,000 damages and a $10,000 Civil penalty for each

 incident or violation in each count of this Cause of Action should be paid by

 Defendants to Plaintiff, together with attorney’s fees, costs, and pre-judgment

 interest, according to proof.

                            COUNT TWO
             UNFAIR HOUSE RULE PRACTICES BY DEFENDANT AOAO

       34.    Plaintiff restates and realleges paragraphs 1-16, 18-33 by this

 reference, and incorporates them herein.




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        35.   The aforesaid practices by Defendants and each of them are unfair

 because they offend established public policy; and/or they are unethical,

 oppressive, unscrupulous; and/or substantially injurious to consumers, including

 Plaintiff.

        36.   Defendants violated the UDAP statute’s prohibition against unfair

 practices by acts and/or omissions which offend established public policy as set

 forth by the common law, case law, and statutes, including HRS Ch. 480 (UDAP),

 HRS §514B-9 (good faith), HRS §514B-106(a) and HRS §514B-132(c) (fiduciary

 duties), HRS §514B-154.5 (records/ information), HRS §514B-69 (violation of

 HRS §514B-154.5, a misdemeanor), HRS §514B-161(a) mediation, the common

 law fiduciary duty of full disclosure; also, 18 USC §1343 (wire fraud), and 18 USC

 §1341 (mail fraud).

                        COUNT THREE
      DECEPTIVE MEDIATION PRACTICES BY DEFENDANT AOAO

        37.   Plaintiff restates and realleges paragraphs 1-36 by this reference, and

 incorporates them herein.

        38.   On April 24, 2020, shortly after the first retaliatory, deceptive and/or

 unfair fine was levied on Dr. Johnson by Defendant AOAO, Plaintiff’s counsel

 emailed a demand for mandatory mediation pursuant to HRS §514B-161(a)(1) to

 Defendant AOAO and its managing agent, Hawaiiana Mgmt. Co. Ltd. (“HMC”).



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       39.    On April 30, 2020, Defendant’s attorney and debt collector responded

 and bound Defendant AOAO to this admission “… the association believes there is

 no reason to mediate the simple requirements of the association’s house rules…”

       40.    On May 6, 2020, Defendant AOAO attempted to terrify Plaintiff into

 withdrawing the valid request for mandatory mediation. Defendant AOAO’s

 attorney and debt collector once again bound the AOAO. This time, Defendant

 AOAO admittedly threatened to present a “formal complaint” against Plaintiff and

 his counsel solely for an advantage in this civil matter. Defendant was clearly

 referring to criminal charges involving governmental “stay at home” orders.

       41.    Since Defendant AOAO deceptively and/or unfairly refused totimely

 agree to mediate, Plaintiff was forced to hire a mediator on Maui. She promptly

 scheduled a telephonic pre-mediation conference and sent out notices. Defendant

 AOAO refused to appear for this conference to prepare for an evaluative

 mediation, in violation of HRS §514B-9 (good faith), HRS §514B-106(a) (breach

 of director’s fiduciary duty), and HRS §514B-161(a) (mandatory mediation).

       42.    Defendants thereby legally caused economic loss and damages to

 Plaintiff fairly traceable to Defendants’ unfair and/or deceptive refusal to agree to

 mediate as HRS §514B-161(a) mandates. Plaintiff’s economic loss for this Count

 was ½ of the $250 mediator’s fee which is normally shared. As detailed in Count

 Twelve, supra, Plaintiff suffered additional economic loss by a portion of his



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 maintenance fees used to pay the AOAO’s debt collector for a series of offensive,

 deceptive and/or unfair letters and activities specifically designed to inflict

 emotional distress on Plaintiff and to try to scare Plaintiff out of mediation.

       43.    Therefore, pursuant to HRS §480, Defendant legally caused $5,000

 damages to Plaintiff, for said violation.

                              COUNT FOUR
             UNFAIR MEDIATION PRACTICES BY DEFENDANT AOAO

       44.    Plaintiff restates and realleges paragraphs 1-16, 18-43 by this

 reference, and incorporates them herein.


                        COUNT FIVE
   DECEPTIVE PRACTICES BY DEFENDANT AOAO (FEE GOUGING)

       45.    Plaintiff restates and realleges paragraphs 1-44 by this reference, and

 incorporates them herein.

       46.    Defendants are allowed a reasonable fee of “up to” $1.00/pg for

 copying as a discretionary charge for copying to owners for records. HRS §514B-

 154.5(f). The records may be provided through an internet site free of charge. Id at

 154.5(d).

       47.    Unfairly and/or deceptively, Defendant AOAO refused to calculate a

 “reasonable” fee or provide proof of its calculation. Instead, it told condominium

 owners, including Plaintiff, to use a commercial service for realtors. That “service”




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 could provide some, but not all, of the requested records to Plaintiff for a flat,

 commercial rate.

          48.   Defendants thereby legally caused damages and economic loss to

 Plaintiff fairly traceable to Defendants’ unfair and/or deceptive refusal to provide

 records as HRS §514B-154.5(f) mandates. Plaintiff’s private injury in the form of

 economic loss was the portion of his monthly maintenance fees paid for

 mismanagement, including concealment of records by fiduciaries (Defendant

 AOAO and its agent HMC). The same will be added by amendment according to

 proof.

                          COUNT SIX
      UNFAIR PRACTICES BY DEFENDANT AOAO (FEE GOUGING)

          49.   Plaintiff restates and realleges paragraphs 1-16, 18-48 by this

 reference, and incorporates them herein.

                             COUNT SEVEN
                DECEPTIVE PRACTICES BY DEFENDANT AOAO
                      (CONCEALMENT OF RECORDS)

          50.   Plaintiff restates and realleges paragraphs 1-49 by this reference, and

 incorporates them herein.

          51.   Defendant AOAO conducted its management and operation of the

 property services deceptively and/or unfairly in that it failed and refused to

 respond to, or comply with, Plaintiff’s requests from fiduciaries (AOAO and

 HMC) for disclosure of information or records. In addition, Defendants refused to

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 comply with HRS §514B-154.5 which also required production of records and

 information. The same constituted an omission or practice likely to mislead or

 deceive consumers acting reasonably under the circumstances, such as Plaintiff.

       52.    On May 4, 2020, as a result of the Defendant’s refusal to mediate,

 Plaintiff’s counsel sent the AOAO’s attorney an HRS §514B-154.5 records/

 information demand, for among other things:

           “14. Written House Rule changes with voting records since the
       AOAO’s first response to the pandemic;
             15. All records relating to the alleged incident which the AOAO’s
       Notice of House Rule Violation is based;”


       53.    Defendants unfairly and/or deceptively refused, and still refuses, to

 provide these and other records.

       54.    The omissions or practices were material in that they involved

 information important to Plaintiff regarding the prompt removal of the adhesive

 and unconscionable personal fines. Information/records management is also

 material to the pro-rated charges to Plaintiff for unfair and/or deceptive

 management/operation as well as legal fees included in Plaintiff’s forced

 maintenance fees. Refusing to respond to Plaintiff’s information demands was

 likely to mislead Plaintiff and other consumers of Defendants’ condominium

 management services and property operation, particularly when condominiums at

 WAVECREST are to be sold. The tactic thereby created blight or stigma damages,


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 reducing and diminishing the value of consumers’ and Plaintiff’s personal

 investment in residential real estate.

       55.     Defendants thereby legally caused economic loss to Plaintiff fairly

 traceable to Defendants’ unfair and/or deceptive concealment of records in

 violation of HRS §514B-154.5. Plaintiff’s economic loss was the portion of his

 monthly maintenance fees paid for management, including handling of records and

 diminished value of his personal investment, according to proof.

                            COUNT EIGHT
                 UNFAIR PRACTICES BY DEFENDANT AOAO
                     (CONCEALMENT OF RECORDS)

       56.     Plaintiff restates and realleges paragraphs 1-16, 18-55 by this

 reference, and incorporates them herein.

                            COUNT NINE
             DECEPTIVE PREVENTION BY DEFENDANT AOAO OF
                MAINTENANCE/CLEANING OF RESIDENCE

       57.     Plaintiff restates and realleges paragraphs 1-56 by this reference, and

 incorporates them herein.

       58.     Unfairly and/or deceptively Defendant AOAO caused further

 economic loss to Plaintiff fairly traceable to its actions by preventing Plaintiff, an

 elder, from maintaining his unit. On or about June 9, 2020, the AOAO in

 retaliation for Plaintiff’s foregoing actions, refused to permit registration or to

 admit an individual hired to clean his unit while Dr. Johnson was on the mainland.



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 Defendant harassed said individual, by maliciously accused him of trespassing and

 calling the police. The amount of economic loss damages will be added by

 amendment according to proof, which minimally is $5,000.00, for each related

 violation.

       59.    The Defendants’ above-alleged unfair and/or deceptive acts and/or

 practices violated HRS §480-2. The same and caused private injury to Plaintiff in

 the form of actual economic loss legally caused by the unfair or deceptive practices

 fairly traceable to the acts or omission of Defendants.

                            COUNT TEN
              UNFAIR PREVENTION BY DEFENDANT AOAO OF
                MAINTENANCE/CLEANING OF RESIDENCE

       60.    Plaintiff restates and realleges paragraphs 1-16, 18-59 by this

 reference, and incorporates them herein.

                           COUNT ELEVEN
              DECEPTIVE MAINTENANCE FEE OVERCHARGES
                        BY DEFENDANT AOAO

       61.    Plaintiff restates and realleges paragraphs 1-60 by this reference, and

 incorporates them herein.

       62.    On January 4, 2018, Plaintiff and his wife (not a party hereto)

 purchased a unit at WAVECREST. Thereafter Plaintiff was induced (and

 compelled) to pay Defendant AOAO monthly maintenance fees for common




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 expenses, including expenses for, what was supposed to be fair and/or honest

 administration and management.

       63.    Therefore, based upon Defendants’ unfair and/or deceptive practices

 alleged in this lawsuit, Plaintiff suffered private injury. Defendants legally caused

 damages to Plaintiff each time he made a payment to Defendants for maintenance

 fees, including the portion which was, or should have been allocated to

 management/operation of the property, legal expenses, and/or insurance premiums

 and deductible payments, particularly for D&O and liability coverage. Plaintiff

 suffered separate actual economic loss legally caused by Defendants unfair and or

 deceptive practices, for each monthly payment - a violation, according to proof.

 Said damages minimally stand at $5,000.00 per month since Plaintiff’s purchase

 date of 1/4/2018, for $165,000.00 in economic losses.

                         COUNT TWELVE
         DECEPTIVE DEBT COLLECTION BY DEFENDANT AOAO

       64.    Plaintiff restates and realleges paragraphs 1-63 by this reference, and

 incorporates them herein.

       65.    Plaintiff suffered additional economic loss by a portion of his

 maintenance fees used to pay the AOAO’s attorney and debt collector for a series

 of offensive, deceptive and/or unfair letters and activities specifically designed to

 inflict emotional distress on Plaintiff and to scare Plaintiff out of mediation. Said

 letters were transmitted by email using “debt collector” stationary, falsely

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 threatening: “… this is an attempt to collect debt. Any communication will be used

 for that purpose.”

       66.    Therefore, pursuant to HRS §480, Defendant legally caused $5,000

 damages to Plaintiff, for each violation in this and the other Causes of Action. In

 addition, Plaintiff will request attorney’s fees, pre-judgment interest and costs. For

 each violation by the AOAO there is a specific percentage for the debt collector

 attorney’s fees included in Plaintiff’s maintenance fees. The same represent each

 deceptive and/or unfair email sent by the debt collection law firm on 4/30/2020,

 5/6/2020, 5/11/2020, 5/19/2020, 5/27/2020, 6/15/2020, 6/22/2020 and 6/24/2020.

 At a minimum of $5,000 for each violation, the total statutory damages to Plaintiff

 legally caused by Defendant’s debt collector total at least $40,000.00.


                          COUNT THIRTEEN
             UNFAIR DEBT COLLECTION BY DEFENDANT AOAO

       67.    Plaintiff restates and realleges paragraphs 1-16, 18-65 by this

 reference, and incorporates them herein.

                             SECOND CAUSE OF ACTION –
             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       68.    Plaintiff restates and realleges paragraphs 1-67 by this reference, and

 incorporates them herein.




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       69.    Defendants conduct alleged herein, which caused the harm to Plaintiff

 was intentional or reckless, the conduct was outrageous, and the conduct caused

 Plaintiff extreme emotional distress.

       70.    The aforesaid outrageous conduct includes those specific, intentional

 acts realleged from the prior allegations in this Complaint, as well as the following:

       71.    On or about February 1, 2020, Plaintiff Dr. Johnson arrived at

 WAVECREST to relax and enjoy Molokai’s remote peace and quiet at his

 residence.

       72.    On March 4, 2020, Honorable David Y. Ige, Governor of Hawaii

 proclaimed an Emergency Period due to the outbreak of Covid-19. Plaintiff was

 informed of this proclamation by news media including StarAdvertiser.com

 /2020/03/05/Hawaii-newsliges-state-of-emergency.

       73.    On or about March 19, 2020, Plaintiff attended a contentious meeting

 at the WAVECREST condominium property. It was revealed that WAVECREST

 was undercapitalized and under-reserved by about $20,000,000. The board

 president was blamed. During the proceedings, Plaintiff openly voiced his

 concerns over the board president’s ability to deal with problems at the property.

       74.    On March 23, 2020, Governor Ige issued a Supplementary

 Proclamation requiring Plaintiff and other persons in Hawaii to “stay at home or in

 their place of residence.” The exceptions, applicable here, as Defendant knew,


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 were for “(t)ravel to … receive or obtain goods or services from the essential

 businesses…” Included therein were “grocery stores”. Another exception was for

 “(t)ravel to care for elderly [or]...” “high risk persons”.

       75.     As of about April 6, 2020, the stores had closed on Molokai except for

 hardware stores. The whole, remote island had shut down. A few convenience

 stores remained open for call-in orders with long lines in the hot sun. A grocery

 store -- one of two large stores on Molokai – closed until April 20, 2020, after two

 employees tested positive for Covid-19. The few grocery stores which remained

 open had substantial shortages.

       76.     Hawaii is a remote destination – apx 2,390 miles from the U.S.

 mainland. The island of Molokai, population 7,345, is 50.5 miles from Maui. Maui,

 in turn, is 116.3 miles from Honolulu on the neighbor Island of Oahu. The fear for

 residents, who might need intensive care or ventilators was, and is, palpable and

 widespread.

       77.     Plaintiff, aged 76, is both an elder and a “high risk person” within the

 meaning of Governor Ige’s “stay-home” order of March 23, 2020. The romance of

 one of Hawaii’s most remote destinations had suddenly turned to terror,

 particularly for elderly, high risk residents.

       78.     On April 12, 2020 at about 12:00 p.m., Plaintiff’s friend arrived at

 WAVECREST on an appointment with Plaintiff to retrieve a shopping list and



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 money for groceries. Dr. Johnson was “shut in” due to being in a Covid-19 risk

 factor (age 76).

       79.    While exiting her vehicle, Plaintiff’s friend was accosted by an

 aggressive male [later discovered to be the AOAO’s president]. He officiously

 ordered Plaintiff’s friend to go with him to the condominium project office. She

 was frightened.

       80.    At the office, AOAO employees and the AOAO president were

 informed by Plaintiff’s friend that she was there to help get some food to Dr.

 Johnson, and to pick up his shopping list for that purpose. In retaliation for

 Plaintiff’s comments during the 3/15/20 condominium meeting, Defendant

 AOAO’s staff and president outrageously refused to allow this brief visit for an

 elder in need of food.

       81.    At that point, Plaintiff (76 years old) panicked. He was unable, due to

 the pandemic warnings (and his risk factors), to safely and promptly locate food at

 any stores which may have been open on Molokai. Plaintiff, in his retirement, is a

 novelist. His arms were shaking so much from fear, worry and severe emotional

 distress that he could not use a keyboard.

       82.    In further retaliation against Plaintiff for his participation at a

 condominium meeting, Defendant AOAO fined Plaintiff $100, which was

 “Immediate”, with no appeal. In the notice delivered to Plaintiff, Defendant AOAO



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 falsely and oppressively accused Plaintiff of a vague, unintelligible

 “Health/Behavioral Violation”.

       83.    Defendant AOAO thereby retaliated maliciously against Dr. Johnson,

 Plaintiff herein, all because he spoke up at a meeting on or about March 19, 2020.

       84.    In addition, the foregoing violation notice from Defendant AOAO

 falsely accused Plaintiff of (A) violating House Rules requiring “outside workers”

 to sign in at the office, and (B) noncompliance with state vehicle registration

 requirements.

       85.    When Defendant AOAO sent the retaliatory April 15, 2020 violation

 notice to Plaintiff, it knew full well that (A) Plaintiff had no outside workers on

 April 12, 2020, and (B) Plaintiff had not violated Hawaii’s vehicle registration

 laws, duly suspended on March 16, 2020 by operation of State law.

       86.    Furthermore, Defendant was well aware that on March 16, 2020,

 Hawaii’s Governor issued a Supplementary Proclamation which suspended certain

 provisions of Hawaii Revised Statutes (HRS), including Chapter 286. Therefore,

 the registration and inspection of motor vehicles provisions were suspended,

 including HRS §286-25 and HRS §286-41, until May 15, 2020.

       87.    Plaintiff, at every turn, attempted to reason with Defendant. He

 objected to the fine levied and to the harassment by Defendant AOAO of




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 Plaintiff’s friends who tried to bring him food. To no avail. Plaintiff’s only

 recourse was to retain counsel.

       88.    On April 24, 2020, Plaintiff’s Counsel sent a demand to Defendant

 AOAO and its managing agent to mediate. Among other things, the mediation

 demand provided:

       “NOTICE: Pursuant to HRS §514B-161(a)(1) mandatory mediation is
       demanded between the Owner (Dr. Johnson) and the board. A failure to
       agree to mediate equates to a refusal to mediate.”

       89.    On April 30, 2020, Defendant AOAO responded by its debt

 collector/attorney who stated inter alia “the association believes there is no reason

 to mediate the simple requirements of the association’s house rules…” This

 violated HRS §514B-106(a).

       90.    In further retaliation, when Defendant AOAO responded to inquiries

 from Plaintiff’s attorney, it knew that the responses had to be forwarded to

 Plaintiff; and, the AOAO ratified and is bound by its attorney’s false, retaliatory

 transmission by email, stating: “(w)e are debt collectors and this is an effort to

 collect a debt. Any information obtained by our office will be used for that

 purpose.”

       91.    There were at least five (5) such letters outrageously threatening debt

 collection. The debt collection notices attached intemperate letters. They attempted




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 to terrify and bully Plaintiff out of his mediation demand. None of these items had

 anything honest to do with collecting a debt.

       92.    For its part, the managing agent, Hawaiiana Management Co. Ltd

 (“HMC”), outrageously refused to respond to the request to mediate pursuant to

 HRS §514B-161(a).

       93.    On May 5, 2020, in view of Defendant AOAO’s refusal to mediate

 and HMC’s refusal to respond, Plaintiff’s Counsel served both parties with an HRS

 §514B-154.5 records/information demand.

       94.    On May 6, 2020, in retaliation for the mediation and records demands,

 Defendant AOAO outrageously sent a letter, through its debt collector/lawyer,

 threatening to file a formal complaint with the county and state enforcement

 authorities. This was for violating the Governor’s orders. The violations were a

 misdemeanor according to the Governor’s orders. The letter also threatened

 Plaintiff’s attorney. Defendant AOAO is bound by its attorney’s misconduct.

       95.    On May 12, 2020, in further retaliation for speaking up at a meeting,

 for demanding documents, and for requesting mediation, Defendant AOAO

 outrageously sent Plaintiff another false “Notice of House Rule Violation”. This

 time, Defendant AOAO imposed an additional fine of $250.00 on Plaintiff with a

 notice that the fine will be added to his maintenance fees. As with all




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 condominiums in Hawaii, the fees (and fines) if unpaid, lead to a lien and may

 result in foreclosure.

       96.    In the violation notice sent to Plaintiff, Defendant AOAO again

 falsely accused Plaintiff of having “outside workers”. Also, while registration

 procedures were suspended by Governor Ige’s Proclamation, Defendant AOAO

 falsely accused Plaintiff of having an expired auto registration tag.

       97.    On May 18, 2020, in further retaliation, Defendant AOAO

 outrageously sent Plaintiff another notice of violation, again falsely accusing him

 of having an “outside worker” and an “unpermitted” vehicle. Defendant AOAO

 levied another fine of $250.00 to be included in Plaintiff’s maintenance fees, which

 can result lien and foreclosure.

       98.    On May 19, 2020, in further retaliation, Defendant AOAO

 outrageously sent Plaintiff another notice of violation, again falsely accusing him

 of having an “outside worker” and an unpermitted vehicle. Defendant AOAO

 levied two fines on Plaintiff for $250/each, for a total of $500.00. These were,

 according to the notice, to “be included in your next homeowner’s assessment”.

       99.    The foregoing outrageous conduct caused extreme and severe
 emotional distress to Plaintiff as aforesaid.

       100. As a result, Defendants legally, directly and proximately caused
 special and general damages to Plaintiff including injury, in amounts to be added
 according to proof.


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       101. In committing Defendants’ acts, violations, omissions and breaches of

 continuing duties alleged herein, Defendants, and each of them, acted oppressively,

 wantonly, recklessly, maliciously, fraudulently, grossly negligently, with a

 conscious disregard of the Plaintiff’s rights, and/or with the intention of benefiting

 said Defendants, and with such malice as implies a spirit of mischief or criminal

 indifference to civil obligations, gross or willful conduct; or, an entire want of care

 raising the presumption of a conscious indifference to consequences, and with the

 intention of causing, or recklessly disregarding the probability of causing, injury to

 Plaintiffs, justifying imposition of exemplary damages against Defendants.

       102. Defendants, as a principal, or as an employer, had advance knowledge

 of the unfitness of some of the employees, agents, directors, or debt collectors

 involved herein, and employed them with a conscious disregard of the rights or

 well-being of others, and ratified the wrongful conduct for which damages are

 claimed. The oppression, recklessness, fraud or malice of Defendants’ employees

 or agents was done on the part of one or more of Defendants’ officers, directors, or

 managing agents. In so acting, Defendants acted recklessly; or intended to, and did,

 vex, annoy, injure and/or harass Plaintiff. As a result of such conduct, Plaintiff is

 entitled to exemplary and punitive damages, according to proof, against

 Defendants.




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                           THIRD CAUSE OF ACTION –
           NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       103. Plaintiff restates and realleges paragraphs 1-102, by this reference.

       104. Based upon the foregoing, including ¶4 of this lawsuit, Defendants

 owed a duty to Plaintiff to conform to a certain standard of conduct to protect him

 against unreasonable risks. This duty was breached by Defendants, as aforesaid,

 and Plaintiff suffered continuing, serious, and severe emotional distress.

 Defendants’ conduct alleged above was the legal, and proximate cause of

 Plaintiff’s serious and severe emotional distress and fear for his life.

       105. Defendants’ conduct alleged above was the legal, and proximate cause

 of Plaintiff’s serious and severe emotional distress and fear for his life.


                FOURTH CAUSE OF ACTION – NEGLIGENCE

       106. Plaintiff restates and realleges paragraphs 1- 105 by this reference,

 and incorporates them herein.

       107. At all times herein relevant, Defendants had a duty or obligation,

 recognized by the law and owed to Plaintiff requiring Defendants to conform to a

 certain standard of conduct for the protection of Plaintiff and other residents

 against unreasonable risks of harm, including personal and/or mental injury.




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       108. Defendants did not conform to the foregoing standards required as

 hereinabove alleged. Defendants thereby breached their aforesaid duty of

 reasonable care owed to Plaintiff.

       109. There is a reasonably close causal connection between the breach of

 Defendants’ duty or obligation recognized by the law as aforesaid and the resulting

 mental and/or physical injuries caused by Defendants to Plaintiff.

       110. As a legal and/or proximate cause of Defendant’s breach as aforesaid,

 Plaintiff has suffered, and continues to suffer actual loss or damages including,

 without limit, serious personal and/or mental injury.

       111. As a further legal and/or proximate cause of Defendants’ conduct

 Plaintiff suffered serious and severe emotional distress, mental anguish, fear,

 anxiety, fatigue, and disturbance, which causes him great physical and/or mental

 pain all to his damage, according to proof.

       WHEREFORE, Plaintiff prays:

       A.     For treble damages or $5,000 for each violation, whichever is greater

 on the First Cause of Action;

       B.     For general, special, and actual damages according to proof;

       C.     For punitive damages according to proof on the Second, Third, and

 Fourth Causes of Action;



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       D.    For adverse inference and/or spoliation determinations against

 Defendants regarding all information/records concealed, lost, or destroyed;

       E.    For prejudgment interest;

       F.    For personal liability of certain AOAO directors and former directors,

 without indemnification;

       G.    For Uyemura v. Wick damages;

       H.    For attorney’s fees on the First Cause of Action.

       I.    For costs of suit;

       J.    For such other further relief as the Court deems just.

       DATED: Honolulu, Hawaii, September 1, 2020.

                                                      /s/ Stephen M. Shaw
                                                    STEPHEN M. SHAW, ESQ.
                                                    Attorney For Plaintiff
                                                    NORMAN P. JOHNSON, PhD.




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                           DEMAND FOR JURY TRIAL



       Plaintiff NORMAN P. JOHNSON, PhD., through undersigned counsel,

 demands a trial by jury on all claims in this action.

       DATED: Honolulu, Hawaii, September 1, 2020.


                                                           /s/ Stephen M. Shaw
                                                         STEPHEN M. SHAW, ESQ.
                                                         Attorney For Plaintiff
                                                         NORMAN P. JOHNSON, PhD.




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